                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No.:   2:09-CR-101
                                                 )
ARNOLDO COMPEAN, JR.                             )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s motion for sentence

reduction. [Doc. 511]. Through counsel, the defendant asks the court to reduce his

sentence pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782

and 788 to the United States Sentencing Guidelines Manual (“U.S.S.G.”). The defendant

asks the court to first determine his post-Amendment 782 guideline range and to then

vary below that range.

       The United States has responded to the motion [doc. 512], correctly noting that

this court lacks authority to reduce the present defendant’s sentence to a term less than

the bottom of his amended guideline range. The United States otherwise defers to the

court’s discretion whether and to what extent to grant a sentence reduction, subject to the

limitations of 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

I.     Authority

       “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation




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                                       2008
and quotation marks omitted).      One such exception is identified in 18 U.S.C. §

3582(c)(2):

      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S.S.G. § 1B1.10(b)(1) (2015). Amendment 782, which became

effective on November 1, 2014, revised the guidelines applicable to drug-trafficking

offenses by reducing the offense levels assigned to the drug and chemical quantities

described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C, amend. 782 (2014).

Amendment 788, which also became effective on November 1, 2014, identified

Amendment 782 as retroactive. See id., amend. 788.

      Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2015).       The

court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

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                                       2009
minimum of the amended guideline range,” nor to a term “less than the term of

imprisonment the defendant has already served.”           Id. § 1B1.10(b)(2)(A), (C). 1      In

addition, the commentary to guideline 1B1.10 provides that a court must also consider

the § 3553(a) sentencing factors and the danger to the public created by any reduction in

a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a defendant’s

post-sentencing conduct. See id.

II.     Factual Background

        By judgment dated November 9, 2010, this court sentenced the defendant to

concurrent terms of imprisonment of 150 months as to Count One (an oxycodone

conspiracy) and Count Two (a money laundering conspiracy). The defendant’s guideline

range was 168 to 210 months, based on a total offense level of 35 and a criminal history

category of I. Prior to sentencing, the defendant filed a motion for downward variance

which the court granted in imposing the below-guideline term of 150 months. According

to the Bureau of Prisons, the defendant is presently scheduled for release on October 5,

2020.

III.    Analysis

        Applying Amendment 782, the defendant’s new guideline range is 135 to 168

months, based on a total offense level of 33 and a criminal history category of I. As such,

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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). The government did not file a substantial
assistance motion as to the present defendant, and his current request for a below-guideline
amended sentence must be denied.
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                                         2010
the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.

      The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction.

IV.   Conclusion

      For the reasons stated herein, the defendant’s motion for sentence reduction [doc.

511] is GRANTED IN PART and DENIED IN PART.

      To the extent that the defendant seeks a reduced sentence pursuant to Amendment

782, his motion is GRANTED. The defendant’s term of imprisonment is reduced to 135

months, the bottom of his amended guideline range.

      To the extent that the defendant moves for a downward variance below the

amended guideline range, his motion is DENIED. A variance would not be consistent

with § 1B1.10(b)(2) and is thus not authorized by 18 U.S.C. § 3582(c)(2).




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       Except as provided above, all provisions of the judgment dated November 9, 2010,

shall remain in effect.



              IT IS SO ORDERED.

                                                     ENTER:



                                                            s/ Leon Jordan
                                                      United States District Judge




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